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                                     United States District Court
                                      Western District of Texas
                                       San Antonio Division

 C.M. on his own behalf and on behalf of his
 minor child, D.V.,

         Plaintiffs,

         v.                                           Case No. SA-21-CV-00234-JKP-ESC

 United States of America,

         Defendant.

                                   Joint Motion to Stay Proceedings

        Plaintiffs, by and through undersigned counsel, and Defendant, by and through the United

States Attorney for the Western District of Texas and the undersigned Assistant United States

Attorney, hereby respectfully request a stay of proceedings in this case, and in support thereof

would respectfully show as follows:

        1.       Plaintiffs’ Complaint was filed on March 8, 2021.

        2.       Defendant’s deadline to file a responsive pleading is July 27, 2021.

        3.       The parties previously agreed to a 60-day stay of this matter so that the parties could

facilitate the resolution of this matter. This stay is set to expire.

        4.       The United States, along with a group of counsel who are coordinating negotiations

on behalf of plaintiffs and claimants, are engaged in a nationwide effort to settle district court cases

and pending administrative tort claims arising from family separations at the U.S./Mexico border

that occurred during the prior administration. While significant progress has been made, due to

the scale and complexity of the effort, additional time is needed to achieve a global resolution of

these matters.

        5.       Therefore, the parties respectfully request an additional 60-day stay and extension

of Defendant’s deadline to file responsive deadline, as set forth in the proposed order submitted

herewith.
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          6.     This stay is not sought for purpose of delay but to facilitate the resolution of this

matter.

          WHEREFORE, the parties respectfully request that the Court stay the proceedings in this

case for 60 days and extend Defendant’s deadline to file a responsive pleading until September 27,

2021.



                                                     Respectfully submitted,

                                                     Ashley C. Hoff
                                                     United States Attorney
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                                       Certificate of Service

       I certify that on July 13, 2021, a true and correct copy of the foregoing Joint Motion to Stay
Proceedings was electronically filed via the Court’s CM/ECF system which will send notice to the
following:

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                                                      /s/ Faith Johnson Lowry         .
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